         Case 2:18-cr-00292-RJC Document 735 Filed 06/08/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Criminal No. 18-292
                                              )
ROBERT BOWERS                                 )


                                   MEMORANDUM ORDER

       Presently pending before the Court is United States’ Motion for Court to Conduct Colloquy

with Defendant Regarding his Waiver of Speedy Trial and Other Rights (ECF No. 729). The

matter has been fully briefed and is ripe for disposition.

       Defendant has not personally attended court proceedings in this matter, at each proceeding

held thus far. Rather, the defendant has, through his defense counsel, waived his right to be

present. The Court is of the opinion that an in-person colloquy is not warranted, indeed, is not

required. Defense counsel have repeatedly impressed upon this Court their deep appreciation and

understanding of their obligations to the Court and the Defendant, and there exists no basis to

question defense counsel’s representations, accordingly, the government’s request that we require

defendant to appear in person and that a colloquy be conducted on the record to confirm his

knowing and voluntary waiver of Speedy Trial and other rights is not warranted. Fed. R. Crim. P.

43.

       Therefore, this 8th day of June, 2022, it is hereby ORDERED that the government’s motion

(ECF No. 729) is DENIED.

                                                      /s/ Robert J. Colville
                                                      Robert J. Colville
                                                      United States District Judge


Cc: record counsel via CM-ECF Electronic Notice Filing
